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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION


WORLDWIDE INNOVATIVE TECHNOLOGIES, INC., ET AL                                         PLAINTIFF

V.                                                                          NO. 1:06CV285-M-D

MICROTEK MEDICAL, INC., ET AL                                                        DEFENDANT


                               ORDER DISMISSING ACTION
                               BY REASON OF SETTLEMENT

        The court has been advised by counsel that this action has been settled, or is in the

process of being settled. Therefore, it is not necessary that the action remain upon the calendar

of the court.

        IT IS HEREBY ORDERED that this action be dismissed without prejudice. The court

retains complete jurisdiction to vacate this order and to reopen the action upon cause shown that

settlement has not been completed and further litigation is necessary.

        This the 10th day of July, 2008.




                                               /s/ Michael P. Mills
                                               CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF MISSISSIPPI
